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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                    )
                                            )
           v.                               )
                                            )       Case No. 24-10189-AK
HAROON MOHSINI,                             )
                                            )
                         Defendant.         )


                         MOTION TO WITHDRAW APPEARANCE
                          OF COUNSEL FOR THE DEFENDANT

       Now comes the undersigned and respectfully moves this Court to permit the withdrawal of

his appearance as counsel of record representing Defendant, Haroon Mohsini in the above

referenced matter. As reasons therefore, the undersigned states that there has been a breakdown in

the relationship between Defendant and the undersigned. Defendant is requesting that the Court

appoint new counsel to represent him.       The government takes no position on the motion.

Accordingly, the undersigned respectfully requests that he be permitted to withdraw as counsel of

record in this matter.



                                                    By defendant’s attorney,

                                                    s/ Glenn A. MacKinlay
                                                    Glenn A. MacKinlay
                                                    BBO # 561708
                                                    McCarter & English, LLP
                                                    265 Franklin Street
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                                                    617-449-6548
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Date: March 21, 2025




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                                     Certificate of Conference

       Pursuant to Local Rule 7.1, I hereby certify that the parties conferred in good faith to

attempt to resolve or narrow the issues presented by this motion. The Government takes no

position on the relief requested herein.

                                                      s/ Glenn A. MacKinlay
                                                      Glenn A. MacKinlay




                                       Certificate of Service

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                                      s/ Glenn A. MacKinlay
                                                      Glenn A. MacKinlay




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